                 UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        Case No. 20-cv-954

FARHAD AZIMA,

       Plaintiff,
                                            CONSENT MOTION TO
       v.                                     EXTEND TIME FOR
                                          PLAINTIFF TO RESPOND TO
NICHOLAS DEL ROSSO and VITAL               MOTION OF NON-PARTY
MANAGEMENT SERVICES, INC.,                   FIRST CITIZENS FOR
                                             PROTECTIVE ORDER
       Defendants.


      Pursuant to Rule 6 of the Federal Rules of Civil Procedure and Local

Rule 6.1(a), Plaintiff Farhad Azima (“Plaintiff”) respectfully requests and

moves for an extension of time to respond to the Motion of Non-Party First

Citizens Bank & Trust Co. (“First Citizens”) for Protective Order, ECF No. 225,

with the consent of First Citizens. In support of this motion, Plaintiff shows

the following:

      1.     Plaintiff filed the complaint against Defendants on October 15,

2020. ECF No. 1.

      2.     The law firm of Womble Bond Dickinson (US) LLP (“Womble”) is

local and co-counsel on this matter along with counsel from the law firm of

Miller & Chevalier Chartered.



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         3.    On March 27, 2023, Plaintiff served First Citizens with a

subpoena duces tecum. ECF No. 196-1.

         4.   On May 15, 2023, First Citizens moved for a protective order. ECF

No. 225.

         5.   Counsel from Womble believe they may have a potential conflict in

representing Plaintiff in its response to First Citizens’ Motion for Protective

Order and have conferred with counsel for First Citizens about the issue.

         6.   Counsel for First Citizens has agreed to extend Plaintiff’s time to

respond to First Citizens’ Motion for a Protective Order until June 2, 2023,

while the parties discuss the potential conflict and, if necessary, negotiate a

waiver or find alternative counsel to sign the response to the Motion for

Protective Order.

         7.   Plaintiff’s response to the motion is due on May 30, 2023, and thus

has not yet expired.

         8.   This motion is made for good cause and not for the purpose of

delay.

         WHEREFORE, Plaintiff respectfully requests that the Court extend the

deadline for Plaintiff to respond to First Citizens’ Motion for Protective Order

up to and including Friday, June 2, 2023.

         This, the 30th day of May, 2023.
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              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        CASE NO. 20-CV-954


FARHAD AZIMA,

      Plaintiff,

      v.
                                            CERTIFICATE OF SERVICE
NICHOLAS DEL ROSSO and
VITAL MANAGEMENT
SERVICES, INC.,

      Defendants.




      I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
Notice to the following attorneys:
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Attorney for First Citizens Bank & Trust Co


     This, the 30th day of May, 2023.

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